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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

    PETER FISCHER,                                    )
    individually and on behalf of all others          )
    similarly situated,                               )    No. 4:21-cv-00582-SEP
                                                      )
           Plaintiffs,                                )    This Document Applies To:
                                                      )    21-cv-00583
    v.                                                )    21-cv-00706
                                                      )    21-cv-00709
    CONOPCO, INC., d/b/a “UNILEVER,”                  )    21-cv-00710
    DOES 1 through 10,                                )    21-cv-00781
                                                      )    21-cv-00782
           Defendants.                                )    21-cv-00888
                                                      )    21-cv-00892

                 MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION
                 TO COMPEL ARBITRATION AND TO STAY LITIGATION

          Pursuant to the Federal Arbitration Act (9 U.S.C. §§ 3-4), Defendant Conopco, Inc., d/b/a

“Unilever” (“Unilever”) moves the Court for an order to compel Plaintiffs Michael Muller

(“Muller”), Jennifer Sandbach (“Sandbach”), Drew Huskey (“Huskey”), Peter Fischer

(“Fischer”), and Brandi Goulart (“Goulart”) (“Plaintiffs”) to submit their claims against Unilever

to binding arbitration and to stay all proceedings in these actions.1




1
  Michael Muller v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00583-SEP (E.D. Mo.) (“Muller”);
Jennifer Sandbach v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00706-SEP (E.D. Mo.) (“Sandbach
I”); Jennifer Sandbach v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00709-SEP (E.D. Mo.) (“Sandbach
 ”); Drew Huskey v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00710-SEP (E.D. Mo.) (“Huskey I”);
Drew Huskey v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00781-SEP (E.D. Mo.) (“Huskey II”);
Peter Fischer v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00782-SEP (E.D. Mo.) (“Fischer II”);
Brandi Goulart v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00888-SEP (E.D. Mo.) (“Goulart I”);
Brandi Goulart v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00892-SEP (E.D. Mo.) (“Goulart II”).
This motion does not apply to Peter Fischer v. Conopco, Inc., d/b/a “Unilever,” No. 4:21-cv-00582-SEP
(E.D. Mo.) (“Fischer I”).
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                                                 INTRODUCTION

           Plaintiffs allege that Unilever deceptively markets various antiperspirants. The complaints

each allege that Plaintiffs purchased the products from a retailer while in Missouri.2 Plaintiffs

recently provided discovery that reveals Plaintiffs purchased the products from Walmart’s website,

Walmart.com. Based on this newly acquired information, Unilever moves to compel arbitration

because the Walmart “Terms of Use” contain a mandatory arbitration agreement that expressly

includes claims against Walmart suppliers, such as Unilever. This Court and two others in this

district recently granted motions to compel arbitration in similar cases filed by this same plaintiff’s

counsel involving other personal care products. See Goulart v. Edgewell Personal Care Co., No. 19-

cv-02559-SEP, 2020 WL 3000433, at *2 (E.D. Mo. June 4, 2019)3; Been v. Edgewell Personal Care

Co., 2020 WL 1531015, at *3 (E.D. Mo. Mar. 31, 2020) (Clark, J.) (“Been II”); Been v. Edgewell

Personal Care Co., 2020 WL 2747293, at *2 (E.D. Mo. May 27, 2020) (Autrey, J.) (“Been I”).

Unilever asks this Court do the same here and stay these actions and order the parties to arbitrate

Plaintiffs’ claims.

                                            STATEMENT OF FACTS

           A.       Plaintiffs entered into a contract with Walmart.

           Walmart maintains a website, www.walmart.com, and mobile application from which

customers are able to purchase merchandise online. Declaration of Kartikay Sahay ¶ 2 (Ex. A). Any

customer in Missouri (or elsewhere) who purchases merchandise on Walmart.com must complete

the complete the checkout process and provide information regarding delivery or pickup options,

and payment method. Id. ¶ 5. To place the order, the customer must click on the “Place


2
 See Muller Compl. ¶ 79; Huskey I Compl. ¶ 75, Huskey II Compl. ¶ 71, Sandbach I Compl. ¶ 71,
Sandbach II Compl. ¶ 74, Fischer II Compl. ¶ 70; Goulart I Compl ¶ 73, Goulart II Compl. ¶ 74.

3
    Goulart is also a plaintiff in this antiperspirant litigation.
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order” button. Id. ¶ 6. Located next to the “Place order” button is the following notice: “By

placing this order, you agree to our Privacy Policy and Terms of Use.” Id. The notice contains

visible hyperlinks to both the Privacy Policy and Terms of Use. Id. ¶ 5. By placing an order on

Walmart.com, each customer voluntarily agrees to abide by Walmart’s Privacy Policy and Terms

of Use. Id. ¶ 6.

         Plaintiffs have served discovery which shows that they purchased the Unilever products at

issue on Walmart.com. See Pls.’ Resp. to Interrogs. and Req. for Production (collectively

attached as Ex. B). Specifically, Muller states that on November 18, 2020, he purchased an Axe-

branded Anti Marks Protection men’s antiperspirant stick from Walmart.com. Id. at 2. Huskey

states that on January 25, 2021, he purchased a Degree-branded MotionSense UltraClear

Black+White antiperspirant stick for men and a Degree-branded MotionSense UltraClear

Black+White antiperspirant spray for men from Walmart.com. Id. at 4, 6. Sandbach states that on

February 2, 2021, she purchased a Degree-branded MotionSense UltraClear Black+White

antiperspirant spray for women and a Degree-branded MotionSense UltraClear Black+White

antiperspirant stick for women from Walmart.com. Id. at 8, 10. Fischer states that on January 25,

2021, he purchased a Dove-branded Men+Care antiperspirant spray for men from Walmart.com.

Id. at 12. Goulart produced receipts that show that she purchased a Dove-branded Invisible

antiperspirant dry spray and Dove-branded Advance Care antiperspirant stick on Walmart.com.

Id. at 14, 16. By placing orders at Walmart.com, Plaintiffs agreed to abide by Walmart’s Terms

of Use. The Terms of Use that were in effect November 2020 through February 2021 are attached

to the Declaration of Stacey Krsulic (Ex. C).4




4
 Because there are no material differences among the versions, all citations are to “the version in effect on
November 18, 2020.” See Terms of Use (Ex. C-1).
                                                    3
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       B.     Plaintiffs agreed to arbitrate all claims related to Walmart suppliers.

       The Terms of Use apply to “Walmart,” which includes “Wal-Mart.com USA, LLC and

Walmart Stores, Inc. and any subsidiaries of Wal-Mart Stores, Inc. (including any subsidiaries

that Walmart, Inc. may form or acquire in the future) and their affiliates, directors, officers,

employees and agents” and “Walmart Entities,” which are defined as “Walmart; its suppliers,

vendors, contractors, and licensors.” Terms of Use Ex. C-1 at 1. Unilever was and is a Walmart

supplier and therefore is a “Walmart Entity” pursuant to the Terms of Use. Declaration of Rob

McCulley ¶¶ 3-5 (Ex. D).

       The Terms of Use state up front in capitalized letters that they contain an arbitration

agreement and a class action waiver:

              IMPORTANT: THESE TERMS OF USE CONTAIN A
              MANDATORY ARBITRATION PROVISION THAT, AS
              FURTHER SET FORTH IN SECTION 20 BELOW, REQUIRES
              THE USE OF ARBITRATION ON AN INDIVIDUAL BASIS TO
              RESOLVE DISPUTES. THIS MEANS THAT YOU AND THE
              WALMART ENTITIES ARE EACH GIVING UP THE
              RIGHT TO SUE EACH OTHER IN COURT OR IN CLASS
              ACTIONS OF ANY KIND. IN ARBITRATION, THERE IS NO
              JUDGE OR JURY AND THERE IS LESS DISCOVERY AND
              APPELLATE REVIEW THAN IN COURT.

Terms of Use (Ex. C-1 at 1) (emphasis added). The arbitration agreement further provides:

              PLEASE READ THIS SECTION CAREFULLY. IT MAY
              SIGNIFICANTLY AFFECT YOUR LEGAL RIGHTS,
              INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.
              Using or accessing the Walmart Sites constitutes your acceptance
              of this Arbitration provision. Please read it carefully as it provides
              that you and Walmart will waive any right to file a lawsuit in court
              or participate in a class action for matters within the terms of the
              Arbitration provision.

              EXCEPT FOR DISPUTES THAT QUALIFY FOR SMALL
              CLAIMS COURT, ALL DISPUTES ARISING OUT OF OR
              RELATED TO THESE TERMS OF USE OR ANY ASPECT OF
              THE RELATIONSHIP BETWEEN YOU AND WALMART,

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               WHETHER BASED IN CONTRACT, TORT, STATUTE,
               FRAUD, MISREPRESENTATION, OR ANY OTHER LEGAL
               THEORY, WILL BE RESOLVED THROUGH FINAL AND
               BINDING        ARBITRATION          BEFORE         A     NEUTRAL
               ARBITRATOR INSTEAD OF IN A COURT BY A JUDGE OR
               JURY, AND YOU AGREE THAT WALMART AND YOU ARE
               EACH WAIVING THE RIGHT TO SUE IN COURT AND TO
               HAVE A TRIAL BY A JURY. YOU AGREE THAT ANY
               ARBITRATION WILL TAKE PLACE ON AN INDIVIDUAL
               BASIS; CLASS ARBITRATIONS AND CLASS ACTIONS ARE
               NOT PERMITTED AND YOU ARE AGREEING TO GIVE UP
               THE ABILITY TO PARTICIPATE IN A CLASS ACTION. The
               arbitration will be administered by Judicial Arbitration Mediation
               Services, Inc. (“JAMS”) pursuant to the JAMS Streamlined
               Arbitration Rules & Procedures effective July 1, 2014 (the “JAMS
               Rules”) and as modified by this agreement to arbitrate. The JAMS
               Rules, including instructions for bringing arbitration, are available
               on the JAMS website at http://www.jamsadr.com/rules-
               streamlined-arbitration. The Minimum Standards are available at
               http://www.jamsadr.com/consumer-arbitration.

                                              ***

               These Terms of Use will be governed by and construed under the
               laws of the United States (including federal arbitration law) and the
               State of California, without regard to conflicts of law principles.

Id. at 23-24. JAMS Rule 8(b), incorporated into the arbitration agreement, states:

               Jurisdictional and arbitrability disputes, including disputes over the
               formation, existence, validity, interpretation or scope of the
               agreement under which Arbitration is sought, and who are proper
               Parties to the Arbitration, shall be submitted to and ruled on by the
               Arbitrator. The Arbitrator has the authority to determine
               jurisdiction and arbitrability issues as a preliminary matter.

See JAMS Streamlined Arbitration Rules & Procedures, July 1, 2014 (Ex. E at 11).

                                      LEGAL STANDARD

        “Arbitration agreements are governed by the Federal Arbitration Act (“FAA”).” Hoffman

v. Cargill Inc., 236 F.3d 458, 461 (8th Cir. 2001). The FAA provides:

               A written provision in ... a contract evidencing a transaction
               involving commerce to settle by arbitration a controversy thereafter

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                arising out of such contract or transaction ... or an agreement in
                writing to submit to arbitration an existing controversy arising out
                of such a contract, transaction, or refusal, shall be valid, irrevocable,
                and enforceable, save upon such grounds as exist at law or in equity
                for the revocation of any contract.

9 U.S.C. § 2. “A party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate

under a written agreement for arbitration may petition any United States district court” that would

otherwise have jurisdiction over the suit “for an order directing that such arbitration proceed in

the manner provided for in such agreement.” 9 U.S.C. § 4.

         The FAA reflects a “liberal federal policy favoring arbitration.” AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 339 (2011); Owen v. Bristol Care, Inc., 702 F.3d 1050, 1052 (8th Cir.

2013). Accordingly, “courts must place arbitration agreements on an equal footing with other

contracts” and enforce them according to their terms. Concepcion, 563 U.S. at 339. As this Court

has recognized, the public policy favoring arbitration is so strong that, once an arbitration

agreement is proven to be valid, “‘[a]ny doubts concerning the scope of arbitrable issues should

be resolved in favor of arbitration, whether the problem at hand is the construction of the contract

language itself or an allegation of waiver, delay, or a like defense to arbitrability.’” Goulart, 2020

WL 3000433, at *2 (quoting Lyster v. Ryan’s Family Steak Houses, Inc., 239 F.3d 943, 945 (8th

Cir. 2001)).

                                            ARGUMENT

         The FAA applies to any arbitration agreement that is “written” and in a contract “evidencing

a transaction involving commerce.”5 9 U.S.C. § 2; see Donaldson Co. v. Burroughs Diesel, Inc., 581

F.3d 726, 730–31 (8th Cir. 2009); Pro Tech Indus., Inc. v. URS Corp., 377 F.3d 868, 871 (8th Cir.

2004). Both criteria are met here: (i) the arbitration agreement is in writing (see Terms of Use Ex. C-


5
 In addition to its arbitration rights under the FAA, Unilever is also entitled to arbitration under the
California Arbitration Act. See Cal. Civ. Code 1280 et seq.
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1); and (ii) transactions through Walmart.com plainly involve commerce. When Plaintiffs purchased

products on Walmart.com, they voluntarily agreed to abide by Walmart’s Terms of Use, including the

arbitration agreement. By its terms, the arbitration agreement covers all claims arising out of or

relating to the Terms of Use or the relationship between Plaintiffs and the Walmart Entities, including

those set forth in the complaints. As set forth below, this Court should compel Plaintiffs to submit

these claims to arbitration for three reasons: (1) the parties entered into a valid arbitration agreement;

(2) Plaintiffs’ claims are covered by the arbitration agreement; and (3) the arbitration agreement

delegates any issues pertaining to arbitrability to the arbitrator.

I.      The Court should compel the parties to arbitrate Plaintiffs’ claims.

        A.      Plaintiffs entered into a valid arbitration agreement.

        “If a valid and enforceable arbitration agreement exists under state-law contract principles,

any dispute that falls within the scope of that agreement must be submitted to arbitration.” Torres v.

Simpatico, Inc., 781 F.3d 963, 968 (8th Cir. 2015). In Missouri, a valid arbitration agreement exists

when there is an offer, acceptance, and mutual consideration. Baker v. Bristol Care, Inc., 450 S.W.3d

770, 774 (Mo. 2014) The arbitration agreement at issue is a valid agreement because Walmart

presented an offer, Plaintiffs accepted that offer by purchasing a product through the website, and

mutual consideration exists between the parties.

        With online agreements, courts focus on whether the accepting party had reasonable notice of

and manifested assent to the agreement. Major v. McCallister, 302 S.W.3d 227, 229 (Mo. Ct. App.

2009). A common form of an online agreement is a “browsewrap” agreement. Id. Browsewrap

agreements inform users that the user’s use of the website constitutes acceptance of the terms of the

online agreement. Id. at 230. Walmart advised Plaintiffs that “By placing this order, you agree to our

Privacy Policy and Terms of Use.” Sahay Decl. ¶ 5 (Ex. A). The notice contained a hyperlink to the



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Terms of Use. Id. Thus, Plaintiffs had knowledge of the applicable Terms of Use before purchasing

any product. Courts have consistently upheld browsewrap agreements when the user has “actual or

constructive knowledge of a site’s terms and conditions prior to using the site.” Major, 302 S.W.3d at

229. A customer that has notice of the online terms and conditions made available to her on the

website is bound by those terms. Id. As a result, Plaintiffs accepted Walmart’s offer subject to the

Terms of Use, including the arbitration agreement. See, e.g., Been II, at *3 (“When [Plaintiff]

purchased the women’s razor from the Schick website, she agreed to certain terms and conditions and

thereby entered into a contract with Defendants.”); Been I, at *2 (same) (citing Been II); Goulart,

2020 WL 3000433, at *4 (same) (citing Been II).

        The arbitration agreement also is supported by mutual consideration. The parties exchanged

reciprocal promises to be bound by final arbitration. The mutuality of the arbitration agreement is

sufficient consideration. See McIntosh v. Tenet Health Sys. Hosps., Inc./Lutheran Med. Ctr., 48

S.W.3d 85, 89 (Mo. Ct. App. 2001) (finding sufficient consideration when an arbitration agreement

contemplated an agreement between the parties to submit all future claims to mutually binding

arbitration); Vill. of Cairo v. Bodine Contracting Co., 685 S.W.2d 253, 263 (Mo. Ct. App. 1985)

(“[M]utual promises to settle disputes are the quid pro quo for the arbitration agreement.”). Thus, the

arbitration agreement in Walmart’s Terms of Use contains sufficient consideration.

        B.      Plaintiffs’ claims are covered by the arbitration agreement.

        The Walmart Terms of Use inform customers at the beginning of the agreement that “you and

the Walmart Entities are each giving up the right to sue each other in court or in class actions of any

kind.” Terms of Use (Ex. C-1 at 1) (emphasis added). This includes “all disputes arising out of or

related to these Terms of Use or any aspect of the relationship between [the customer] and Walmart,

whether based in contract, tort, statute, fraud, misrepresentation, or any other legal theory[.]” Id. at



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24. Plaintiffs’ claims against Unilever, which are based on alleged misrepresentations on the
antiperspirant labels, fall under this broad umbrella and therefore are subject to arbitration.

        C.      Any dispute regarding the scope of the arbitration agreement must be
                resolved by the arbitrator, not the Court.

        Parties are free to agree to arbitrate threshold or “gateway” questions of arbitrability.

RentBABCenter, West, Inc. v. Jackson, 561 U.S. 63, 68-69 (2010) (noting that this “reflects the

fundamental principle that arbitration is a matter of contract”). The Supreme Court recently held that

when an agreement delegates questions of arbitrability to an arbitrator, “a court may not override the

contract” and “possesses no power to decide the arbitrability issue.” Henry Schein, Inc. v. Archer &

White Sales, Inc., 139 S. Ct. 524, 529 (2019) (emphasis added). Following Schein, this Court recently

found in Goulart that “if a valid [arbitration] agreement exists, and if the agreement delegates the

arbitrability issue to an arbitrator, a court may not decide the arbitrability issue.” 2020 WL 3000433,

at *5. That is the situation here.

        As with the arbitration agreements in Goulart, Been I, and Been II, the arbitration

agreement at issue here states that the arbitration shall be administered through JAMS. Terms of

Use Ex. C-1 at 23 (stating that arbitration will be administered pursuant to the JAMS Streamlined

Arbitration Rules & Procedures); see Goulart, 2020 WL 3000433, at *4; Been II, at *3; Been I, at

*2. Thus, as also found in Goulart, Been I, and Been II, the arbitration agreement here incorporates

JAMS Rule 8(b), which provides:

                Jurisdictional and arbitrability disputes, including disputes over the
                formation, existence, validity, interpretation or scope of the
                agreement under which Arbitration is sought, and who are proper
                Parties to the Arbitration, shall be submitted to and ruled on by the
                Arbitrator. The Arbitrator has the authority to determine
                jurisdiction and arbitrability issues as a preliminary matter.




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Ex. E at 11; see Goulart, 2020 WL 3000433, at *4; Been II, at *3; Been I, at *2; see also Murphy v.

Oracle Am., Inc., 2019 WL 2525727, at *2 (E.D. Mo. June 19, 2019) (recognizing the incorporation

of JAMS rules).6 By entering into an agreement that incorporates this rule, Plaintiffs have agreed

that any dispute over “the formation, existence, validity, interpretation, or scope of the agreement”

will be submitted to the arbitrator. Accordingly, the Court should delegate any such challenges by

Plaintiffs to the arbitrator.

II.     These eight actions should be stayed pending arbitration.
        As this Court has found, “[t]he [FAA] generally requires a federal district court to stay an

action pending an arbitration, rather than to dismiss it.” Goulart, 2020 WL 3000433, at *6

(quoting Green v. Super Shuttle Intern., Inc., 653 F.3d 766, 769 (8th Cir. 2011) (citing 9 U.S.C. §

3)). As was ordered in Goulart, Been I, and Been II, Unilever requests that the Court stay these

eight actions pending arbitration.

                                             CONCLUSION

         For the foregoing reasons, Unilever respectfully requests that the Court grant its Motion

to Compel Arbitration and compel Plaintiffs to arbitrate their claims against Unilever and any

issues related to arbitrability on an individual basis before the Judicial Arbitration and Mediation

Services. Unilever further requests that this Court enter an order immediately staying all activity

in these eight actions.




6
 The Missouri Supreme Court also has recognized that incorporation of an arbitration service’s rules (i.e.,
AAA), and specifically, the rule delegating arbitrability issues to the arbitrator, is valid, and parties are
bound by those rules. See Soars v. Easter Seals Midwest, 563 S.W.3d 111, 116 (Mo. 2018); State ex rel.
Pinkerton v. Fahnestock, 531 S.W.3d 36 (Mo. 2017).
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Dated: December 1, 2021               Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2021, the foregoing document was served upon the
following via the Court’s electronic filing system and/or electronic mail:

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